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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 OWNER-OPERATOR INDEPENDENT
 DRIVERS ASSOCIATION, INC., et al.,
           Plaintiffs,                                    MEMORANDUM DECISION AND
                                                          ORDER DENYING DEFENDANT
                                                          C.R. ENGLAND, INC.’S MOTION
                                                          TO CLARIFY APRIL 28, 2009
                                                          ORDER


                   vs.


 C.R. ENGLAND, INC.,                                      Case No. 2:02-CV-950 TS
           Defendant.




       Before the Court is Defendant C.R. England, Inc.’s Motion to Clarify April 28, 2009

Order.1 After reviewing the parties respective filings on this matter, the Court issues the

following ruling.

                                       I. INTRODUCTION

       On June 20, 2007, this Court issued its ruling that Defendant’s form lease agreements,

known as the Independent Contractor Operating Agreements (“ICOA”), violated the Federal




       1
           Docket No. 419.

                                                 1
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Truth in Leasing Act (“FTLA”)2 and accompanying Department of Transportation Regulations.3

Among the violations identified by the Court, the Court found that Defendant violated the FTLA

Regulations by mismanaging Plaintiffs escrow funds by using monies in escrow funds for items

not specifically mentioned in the ICOA. As part of this ruling, the Court ordered an accounting

of the escrow accounts held by Defendant under the ICOA to determine if and when Defendant

had improperly deducted unauthorized amounts from escrow accounts on an individual account

basis (the “Accounting”).

       After the parties engaged in extensive briefing and the Court heard oral argument on how

the Accounting should proceed, the Court issued its Memorandum Decision and Order on

Finalization of the Accounting of Escrow Accounts, Defendant’s Proposed Set-Offs, Actual

Damages, and Restitution (the “Finalization Order”).4 Therein, the Court ordered that “[t]he

Accounting is to be finalized and submitted to the Court” by November 23, 2008.5 The Court

further ordered that “upon submission of the finalized accounting of escrow accounts, the case

will be referred to Magistrate Judge David Nuffer for a truck-by-truck analysis of actual

damages.”6




       2
           49 U.S.C. §§ 14102 and 14704, et seq.
       3
           49 C.F.R. § 376, et seq.
       4
           Docket No. 358.
       5
           Id. at 11.
       6
           Id.

                                                   2
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           Shortly thereafter, Defendant filed a motion to clarify the Court’s Finalization Order.7 On

April 28, 2009, the Court granted in part and denied in part the motion.8 Therein, the Court

found “that any payment to class members at the time of settlement which were paid from escrow

accounts must be deducted from the measure of damages.”9 On August 18, 2009, Defendant

filed this present motion seeking the Court’s clarification of its April 28, 2009, clarification

order.10

                                                  II. DISCUSSION

           Defendant requests that the Court issue an order clarifying that all funds paid to England

drivers at the time of final settlement were specifically escrow funds that should be offset against

damages before adjudication of England’s set-off claims.11 In conjunction with this request,

Defendant provides several examples of what they allege to be typical final settlements between

England drivers and Defendant.12 Defendant uses these examples to argue that monies paid to

England drivers during final settlement constitute both revenues (which Defendant argues may be

appropriately used by Defendant to pay expenses) and escrow funds (which this Court has held

belong to Plaintiffs). By analogy to trust law, Defendant argues that Defendant held the escrow

funds as trustee for Plaintiffs. Continuing the analogy, Defendant asserts that revenues are akin


           7
               Docket No. 386.
           8
               Docket No. 394.
           9
               Id. at 2 (emphasis in original).
           10
                Docket No. 418.
           11
                Id.
           12
                See Docket No. 419, at 3-7.

                                                        3
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to a trustee’s personal funds, while the escrow funds are akin to the trust funds. Based upon

well-settled trust principles, because these revenues and escrow funds were commingled in the

final settlement, Defendant argues that this Court should assume that Defendant “used escrow

funds for appropriate purposes, and other revenues for all other expenses, ‘so long as the balance

of the common fund remains in excess of or equal to the amount of the trust fund.’”13

       In reviewing Defendant’s arguments, the Court finds that these issues are more

appropriate for the damages analysis phase. As Defendant’s own examples demonstrate, the only

way to appropriately evaluate the numerous categories involved in Defendant’s assertions is to

evaluate each member of the class on a truck-by-truck basis. This is precisely why the Court

appointed Magistrate Judge Nuffer to evaluate these set-offs during the damages analysis phase.

       Moreover, Defendant has not successfully demonstrated why this calculation needs to be

completed prior to the damages analysis phase. Defendant advances two arguments on this issue.

First, Defendant suggests that making this calculation prior to the damages analysis will “more

accurately determine how much the individual driver has been damaged.” Second, Defendant

suggests that making this calculation prior to the damages analysis will “reduce the need to

adjudicate all of the set-off claims.” The Court finds both of these reasons unpersuasive. The

Court finds that making these determinations on a truck-by-truck basis will significantly increase,

rather than diminish, the accuracy of these calculations. Moreover, while it may be true that

allowing Defendant to make these deductions prior to the damages analysis will decrease the

amount of set-offs at issue, this argument merely addresses the wisdom of evaluating the class




       13
            Id. at 11 (quoting Sisman v. Ogden State Bank, 75 P.2d 313, 316 (Utah 1938).

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members as individuals in the first place. Again, the Court repeats its belief that an individual

accounting is necessary and will decline Defendant’s invitation to reconsider this decision.

                                       III. CONCLUSION

       It is therefore

       ORDERED that Defendant C.R. England, Inc.’s Motion to Clarify April 28, 2009 Order

(Docket No. 418) is DENIED.

       DATED September 30, 2010.



                                              BY THE COURT:



                                              _____________________________________
                                              TED STEWART
                                              United States District Judge




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